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                                                  Liberty Square Building
                                                  450 5th Street, N.W.
                                                  Washington, DC 20001


                                                 December 20, 2018


DELIVERY VIA ECF

Hon. Richard J. Leon, U.S. District Court Judge
U.S. District Court Judge for the District of Columbia
E. Barrett Prettyman Courthouse
333 Constitution Ave., NW
Washington, DC 20001


       Re:    United States, et al. v. CVS Health Corp., et al.,
              Civil Action No. 1:18-cv-02340 (RJL)

Dear Judge Leon:

       At a hearing on December 18, 2018, the Court asked the parties whether it would be

appropriate for Julie Myers-Wood, the Monitoring Trustee in the above-referenced matter, to also

monitor four steps that CVS is taking concerning Aetna’s business. See Tr. 12/18/18 at 16:24-

17:19. CVS described those steps in its Memorandum in Response to the Court’s December 3,

2018 Order to Show Cause. ECF #33 at 15-16.

       In a letter submitted to the Court today, CVS has voluntarily committed to filing quarterly

declarations with the Court certifying under oath that each step remains in place. ECF #42 at 1. To

the extent that CVS desires to modify or end one of the commitments, it has proposed giving the

Court 30 days’ notice and an explanation of the reasons for the proposed change before

implementing it. Id. While the United States believes that these actions and an order regarding

them are unnecessary and inappropriate for the reasons explained in the United States’ Response
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to Order to Show Cause, ECF #32, the United States has no objections to these voluntary

commitments. The United States therefore asks that the Court impose no additional obligations on

Defendants.

                                                Respectfully submitted,

                                                             /s/
                                                Jay D. Owen
                                                Peter J. Mucchetti
                                                Scott I. Fitzgerald
                                                U.S. Department of Justice
                                                Antitrust Division
                                                450 Fifth Street NW, Suite 4100
                                                Washington, D.C. 20530
                                                Tel.: (202) 598-2987
                                                Fax: (202) 616-2441
                                                E-mail: Jay.Owen@usdoj.gov




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                                 CERTIFICATE OF SERVICE

       I, Jay D. Owen, hereby certify that on December 20, 2018, I caused a copy of the

foregoing document to be served upon Plaintiffs State of California, State of Florida, State of

Hawaii, State of Washington, and Defendants CVS Health Corporation and Aetna Inc., via the

Court’s CM/ECF system, and to be served upon Plaintiff State of Mississippi by mailing the

documents electronically to its duly authorized legal representative:


Counsel for State of Mississippi:
Crystal Utley Secoy
Consumer Protection Division
Mississippi Attorney General’s Office
P.O. Box 22947
Jackson, Mississippi 39225
Phone: (601) 359-4213
cutle@ago.state.ms.us



                                                                          /s/
                                                             Jay D. Owen
                                                             U.S. Department of Justice
                                                             Antitrust Division
                                                             450 Fifth Street NW, Suite 4100
                                                             Washington, D.C. 20530
                                                             Tel.: (202) 598-2987
                                                             Fax: (202) 616-2441
                                                             E-mail: Jay.Owen@usdoj.gov




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